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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
__________________________________________

CURTIS BROWN,

        vs                                                             ORDER OF RECUSAL

CITY OF SYRACUSE,                                                      Civil Action No.
                                                                         5:01-CV-1523 (GTS/DEP)
                        Defendant.
__________________________________________

        The undersigned hereby RECUSES himself from the above-entitled action which was

assigned to him on March 12, 2009. At a pretrial conference held on March 24, 2009 with

counsel for all parties, Plaintiff’s counsel advised that she may call witnesses at the time of trial

who were employed by the District Attorney’s Office and were under my direct supervision

while I was the First Assistant District Attorney. Therefore, I recuse myself from this action.

        WHEREFORE, it is hereby

        ORDERED that the Clerk enter this Order of Recusal for the undersigned;

and it is further

        ORDERED that the Clerk shall directly reassign this case to United States District Judge

David N. Hurd; and it is further

        ORDERED that the Clerk shall serve a copy of this Order on the parties and the United

States District Judge to whom the case is assigned.

Dated: March 25, 2009
